Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 1 of 57

UNITED STATES DISTRICT COURT nn

SOUTHERN DISTRICT OF TEXAS —AUG'2. § 20;7
HOUSTON DIVISION

UNITED STATES OF AMERICA

CRIMINAL NO.

17CR514

Vv.

»

§
§
§
§
LUIS CARLOS DE LEON-PEREZ, §
NERVIS GERARDO §
VILLALOBOS-CARDENAS, §
CESAR DAVID RINCON-GODOY, §
ALEJANDRO ISTURIZ-CHIESA, §
AND RAFAEL ERNESTO §
REITER-MUNOZ, §

§

UNDER SEAL

DEFENDANTS §
INDICTMENT
THE GRAND JURY CHARGES:
GENERAL ALLEGATIONS

At all relevant times, unless otherwise specified:

1. The Foreign Corrupt Practices Act of 1977 (“FCPA”), as amended,
Title 15, United States Code, Sections 78dd-1, et seg., was enacted by Congress for
the purpose of, among other things, making it unlawful to act corruptly in
furtherance of an offer, promise, authorization, or payment of money or anything

of value, directly or indirectly, to a foreign official for the purpose of obtaining or
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 2 of 57

retaining business for, or directing business to, any person.

2. Petroleos de Venezuela S.A. (“PDVSA”) was the Venezuelan state-
owned and state-controlled oil company. PDVSA and its subsidiaries and affiliates
were responsible for the exploration, production, refining, transportation, and trade
in energy resources in Venezuela and provided funding for other operations of the
Venezuelan government. PDVSA Services, Inc. was the U.S.-based affiliate of
PDVSA located in Houston, Texas, that, at various times, was responsible for
international purchasing on behalf of PDVSA. Bariven S.A. (“Bariven’’) was the
PDVSA procurement subsidiary responsible for equipment purchases. PDVSA
and its wholly owned subsidiaries, including PDVSA Services, Inc. and Bariven,
(hereinafter collectively referred to as “PDVSA”’) were “instrumentalities” of the
Venezuelan government as that term is used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(2)(A). PDVSA officers and employees were “foreign
officials” as that term is used in the FCPA, Title 15, United States Code, Section
78dd-2(h)(2)(A).

3, PDVSA awarded contracts for energy services and equipment in a
number of ways, including through a competitive bidding process. One such
competitive bidding process began with a PDVSA purchasing analyst assembling a
bidding panel, which identified those companies that would be invited to submit

bids in connection for a particular project. PDVSA would then issue a request for
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 3 of 57

quotation to the companies included on the bidding panel and those companies
would in turn submit formal bids, from which a winner would be selected.
PDVSA also awarded sole source contracts, which were not subject to a
competitive bidding process. Ultimately, all contracts needed to be approved by
more senior PDVSA employees.

4. Beginning in at least 2011 and continuing until at least 2013, LUIS
CARLOS DE LEON PEREZ, NERVIS GERARDO VILLALOBOS
CARDENAS, CESAR DAVID RINCON GODOY, ALEJANDRO ISTURIZ
CHIESA, and RAFAEL ERNESTO REITER MUNOZ (collectively, the
“Defendants” described more fully below), solicited PDVSA vendors for bribes
and kickbacks in exchange for providing assistance to those vendors in connection
with their PDVSA business, including assisting them in obtaining PDVSA
contracts and assisting them in receiving payment priority over other vendors for
outstanding PDVSA invoices during the Venezuelan liquidity crisis.

5. The Defendants then laundered the proceeds of the bribery scheme
through numerous financial transactions, including through international wire
transfers to and from bank accounts that they opened in Switzerland, Curacao, and
elsewhere in the names of various companies.

6. The Defendants sought to conceal the nature of the scheme through

various complex financial transactions by directing bribe payments to be sent to
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 4 of 57

various recipients other than the intended PDVSA officials, including companies,
intermediaries, relatives, friends, creditors, and close personal associates of the
PDVSA officials.

The Defendants

7. Defendant LUIS CARLOS DE LEON PEREZ (“DE LEON”) was
a dual citizen of the United States and Venezuela. DE LEON was thus a
“domestic concern” as that term is used in the FCPA, Title 15, United States Code,
Section 78dd-2(h)(1). DE LEON had previously been employed by
instrumentalities of the Venezuelan government, but was no longer so employed
during the relevant period.

8. Defendant NERVIS GERARDO VILLALOBOS CARDENAS
(“VILLALOBOS”), aka “Enano,” was a citizen of Venezuela. VILLALOBOS
had previously been employed by the Venezuelan government and
instrumentalities thereof, but was no longer so employed during the relevant
period.

9. Defendant CESAR DAVID RINCON GODOY (“CESAR
RINCON”), aka “Primo,” was a citizen of Venezuela. At all relevant times,
CESAR RINCON was employed by PDVSA and its subsidiaries, including
Bariven, in various capacities, including as the general manager of Bariven.

CESAR RINCON was a “foreign official” as that term is used in the FCPA, Title
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 5 of 57

15, United States Code, Section 78dd-2(h)(2)(A).

10. Defendant ALEJANDRO ISTURIZ CHIESA (“ISTURIZ”), aka
“Piojo” and “Paulo,” was a citizen of Venezuela. During the relevant period,
ISTURIZ was employed by Bariven as an assistant to the president of Bariven.
ISTURIZ was a “foreign official” as that term is used in the FCPA, Title 15,
United States Code, Section 78dd-2(h)(2)(A).

11. Defendant RAFAEL ERNESTO REITER MUNOZ (“REITER”),
aka “Nadal,” was a citizen of Venezuela. At all relevant times, REITER was
employed by PDVSA as head of security and loss prevention. REITER was a
“foreign official” as that term is used in the FCPA, Title 15, United States Code,
Section 78dd-2(h)(2)(A).

The Defendants’ Associates and Co-Conspirators

12. “CESAR RINCON Relative 1,” an individual whose identity is known
to the Grand Jury, was a relative of CESAR RINCON.

13. “ISTURIZ Associate 1,” an individual whose identity is known to the
Grand Jury, provided financial services to ISTURIZ.

14. “REITER Relative 1,” an individual whose identity is known to the
Grand Jury, was a close relative of REITER.

15. Roberto Enrique Rincon Fernandez (“Rincon”), aka “Pelon,” who has

been charged separately, was a U.S. lawful permanent resident and a resident of
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 6 of 57

Texas, and controlled, together with others, a number of closely-held companies,
including several U.S. companies, many of which were based in the Southern
District of Texas, that Rincon used to secure contracts with PDVSA. Rincon was
thus a “domestic concern” and an officer, director, employee, agent, and
shareholder of a “domestic concern” as those terms are used in the FCPA, Title 15,
United States Code, Section 78dd-2(h)(1).

16. “Rincon Company 1,” a company whose identity is known to the
Grand Jury, was organized under the laws of Texas and headquartered in the
Southern District of Texas. Rincon Company | was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company | was controlled by Rincon and used by Rincon to secure
contracts with PDVSA.

17. “Rincon Company 2,” a company whose identity is known to the
Grand Jury, was organized under the laws of Texas and headquartered in the
Southern District of Texas. Rincon Company 2 was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company 2, along with its Venezuelan-based affiliate (hereinafter
collectively referred to as Rincon Company 2), was controlled by Rincon and used
by Rincon to secure contracts with PDVSA.

18. “Rincon Company 3,” a company whose identity is known to the
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 7 of 57

Grand Jury, was controlled by Rincon and used by Rincon to secure contracts with
PDVSA.

19. “Rincon Company 4,” 4 company whose identity is known to the
Grand Jury, was organized under the laws of Texas and headquartered in the
Southern District of Texas. Rincon Company 4 was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company 4 was controlled by Rincon and used by Rincon to secure
contracts with PDVSA.

20. “Rincon Company 5,” a company whose identity is known to the
Grand Jury, was organized under the laws of Texas and headquartered in the
Southern District of Texas. Rincon Company 5 was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company 5 was controlled by Rincon and used by Rincon to secure
contracts with PDVSA.

21. “Rincon Company 6,” a company whose identity is known to the
Grand Jury, was controlled by Rincon. Rincon Company 6 was organized under
the laws of Texas. Rincon Company 6 was thus a “domestic concern” as that term
is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

22. “Rincon Company 7,” a company whose identity is known to the

Grand Jury, was organized under the laws of Texas and headquartered in the
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 8 of 57

Southern District of Texas. Rincon Company 7 was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company 7 was controlled by Rincon and used by Rincon to secure
contracts with PDVSA.

23. “Rincon Associate 1,” an individual whose identity is known to the
Grand Jury, provided Rincon with certain professional services.

24. Abraham Jose Shiera Bastidas (“Shiera’’), aka “Puma,” who has been
charged separately, was a Venezuelan national who resided in Florida, and
controlled, together with others, a number of closely-held companies, including
several U.S. companies, that Shiera used to secure contracts with PDVSA. Shiera
was thus a “domestic concern” and an officer, director, employee, agent, and
shareholder of a “domestic concern” as those terms are used in the FCPA, Title 15,
United States Code, Section 78dd-2(h)(1). Rincon and Shiera worked together on
a number of PDVSA contracts and contract bids.

25. “Shiera Company 1,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Shiera Company 1 was thus a “domestic concern” as that term is used in the

FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Shiera Company 1 was
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 9 of 57

controlled by Shiera and used by Shiera to secure contracts with PDVSA.

26. “Shiera Company 2,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Shiera Company 2 was thus a “domestic concern” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Shiera Company 2 was
controlled by Shiera and used by Shiera to secure contracts with PDVSA.

27. “Shiera Company 3,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Shiera Company 3 was thus a “domestic concern” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Shiera Company 3 was
controlled by Shiera and used by Shiera to secure contracts with PDVSA.

28. “Shiera Company 4,” a company whose identity is known to the
Grand Jury, was controlled by Shiera.

29. “Shiera Company 5,” a company whose identity is known to the
Grand Jury, was controlled by Shiera.

30.  “Shiera Company 6,” a company whose identity is known to the
Grand Jury, was controlled by Shiera.

31. “Businessman 3,” an individual whose identity is known to the Grand
Jury, was a U.S. lawful permanent resident and a resident of Florida, and

controlled, together with others, a number of closely-held companies, including
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 10 of 57

several U.S. companies, that Businessman 3 used to secure contracts with PDVSA.
Businessman 3 was thus a “domestic concern” and an officer, director, employee,
agent, and shareholder of a “domestic concern” as those terms are used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

32. “Swiss Company A,” whose identity is known to the Grand Jury, was
a Swiss wealth management firm.

33. “Swiss Banker 1,” an individual whose identity is known to the Grand
Jury, was a partner in Swiss Company A.

34. “Official A,” an individual whose identity is known to the Grand
Jury, was at all relevant times employed by PDVSA, including as a senior
executive of Bariven.

35. “Official B,” an individual whose identity is known to the Grand Jury,
was at all relevant times a senior Venezuelan government official.

36. Official A and Official B were each a “foreign official” as that term is
used in the FCPA, Title 15, United States Code, Sections 78dd-2(h)(2)(A).

Other Entities

37. “Law Firm 1,” whose identity is known to the Grand Jury, was a
U.S.-based law firm.

38. “Production Company A,” whose identity is known to the Grand Jury,

was a U.S.-based film production company.

10
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 11 of 57

COUNT ONE
(Conspiracy to Commit Money Laundering — 18 U.S.C. § 1956(h))

39. Paragraphs | through 38 are realleged and incorporated by reference
as though fully set forth herein.
40. From in or around 2011 and continuing until at least 2013, in the

Southern District of Texas and elsewhere, the defendants,

LUIS CARLOS DE LEON PEREZ
NERVIS GERARDO VILLALOBOS CARDENAS
CESAR DAVID RINCON GORDOY
ALEJANDRO ISTURIZ CHIESA
and
RAFAEL ERNESTO REITER MUNOZ

did knowingly conspire, confederate, and agree with each other and others known
and unknown to the Grand Jury to commit offenses under Title 18, United States
Code, Section 1956, namely:

a. knowing that the property involved in a financial transaction represented
the proceeds of some form of unlawful activity, to conduct or attempt to
conduct such a financial transaction which in fact represented the
proceeds of specified unlawful activity, knowing that the transaction is
designed in whole and in part to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of

specified unlawful activity, namely, bribery of a foreign official, a felony

11
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 12 of 57

violation of the FCPA, Title 15, United States Code, Sections 78dd-2, in
violation of Title 18, United States Code, Section 1956(a)(1)(B); and

b. with the intent to promote the carrying on of specified unlawful activity,

namely, bribery of a foreign official, a felony violation of the FCPA,
Title 15, United States Code, Section 78dd-2, transport, transmit, or
transfer funds from a place in the United States to a place outside the
United States, in violation of Title 18, United States Code, Section
1956(a)(2)(A).

Manner and Means of the Conspiracy

41. The manner and means by which DE LEON, VILLALOBOS,
CESAR RINCON, ISTURIZ, REITER, and their co-conspirators sought to
accomplish the purpose of the conspiracy included, among other things, the
following, while in the Southern District of Texas and elsewhere:

42. DELEON, VILLALOBOS, CESAR RINCON, ISTURIZ, and
REITER promised Rincon, Shiera, and others known and unknown to the Grand
Jury assistance with getting paid on outstanding invoices on PDVSA contracts, as
well as assistance with winning new PDVSA contracts, in exchange for bribe

payments.
43. DELEON, VILLALOBOS, CESAR RINCON, and ISTURIZ

solicited assistance, and in turn Rincon, Shiera, and Swiss Banker 1, together with

12
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 13 of 57

others, assisted the PDVSA officials in opening bank accounts, including bank
accounts in Switzerland, for the PDVSA officials and their co-conspirators to
receive bribe payments.

44. DE LEON, VILLALOBOS, CESAR RINCON, ISTURIZ, and
REITER directed bribe payments to be sent to various recipients other than the
intended PDVSA officials, including companies, intermediaries, relatives, friends,
creditors, and close personal associates of the PDVSA officials, for the purpose of
concealing and disguising the nature, source, and ownership of the bribe payments.

45. DELEON and VILLALOBOS, together with others, engaged in
monetary transactions among their various accounts designed to conceal the nature,
source, and ownership of the proceeds of the specified unlawful activity.

46. Swiss Banker 1 and CESAR RINCON, each and together with
others, created false justifications for certain of the bribes, including invoices for
services that were never performed, for the purpose of concealing and disguising
the nature, source, and ownership of those bribe payments.

47. Rincon and Shiera, together with others, directed the wire transfer of,
and caused to be wired, bribe payments from bank accounts which were frequently
in the name of companies other than the companies being awarded PDVSA
contracts and receiving payments from PDVSA, for the purpose of concealing and

disguising the nature, source, and ownership of the bribe payments.

13
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 14 of 57

Acts In Furtherance of the Conspiracy

48. Beginning in at least 2010, Venezuela began to experience a liquidity
crisis as the profits earned through PDVSA, which historically had been a
significant source of revenue to the Venezuelan government as a result of its oil
reserves, were insufficient to meet the government’s expenses. Numerous analysts
began to speculate that PDVSA could default on its debt, and the government
made public commitments for PDVSA to increase oi! production.

49. Given these liquidity problems, PDVSA was unable to pay all of its
vendors in a timely manner, but remained under pressure to continue to escalate oil
production.

50. In or about 2011, Rincon and Shiera were approached by a group of
individuals who consisted of then-current PDVSA officials and individuals outside
PDVSA with influence at PDVSA, including DE LEON, VILLALOBOS, and
ISTURIZ, referred to as the “management team.” The management team offered
to give Rincon’s and Shiera’s companies payment priority over other PDVSA
vendors, ensuring that Rincon’s and Shiera’s companies would get at least partial
payment on outstanding PDVSA invoices, and to provide Rincon’s and Shiera’s
companies with assistance in winning future PDVSA business, in exchange for
providing a bribe to the management team in the amount of 10% of all payments

Rincon and Shiera received from PDVSA. The management team made similar

14
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 15 of 57

offers to other vendors known and unknown to the Grand Jury. In addition,
individual members of the management team solicited additional bribe payments
from Rincon and Shiera.

51. DE LEON and VILLALOBOS explained that the bribe proceeds
would be split and would be shared among DE LEON, VILLALOBOS, CESAR
RINCON, ISTURIZ, REITER, OFFICIAL A, and OFFICIAL B.

52. Rincon and Shiera agreed to make the payments to the management
team in exchange for payment priority and assistance in winning future PDVSA
contracts.

53. Because they were able to guarantee payment through the corrupt
scheme, Rincon and Shiera continued to supply goods and services to PDVSA,
thereby enabling PDVSA to continue to do business with such vendors who might
not otherwise accept the risk of non-payment.

54. Payment allocation decisions for vendors were typically documented
by Bariven in weekly reports entitled, as translated into English, “Proposal for
Payment to International Providers for the Procurement of Materials, Equipment,
and Food in Foreign Markets On Behalf of PDVSA and its Subsidiaries.” These
documents, generally referred to in shorthand (as translated into English) as the
payment proposals or proposals, typically contained a “Premise” stating, as

translated into English, “The invoicing included in this payment schedule was

15
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 16 of 57

coordinated with the international offices of procurement (Houston and the
Netherlands) in line with the agreed upon payment conditions and the operational
needs coordinated between the hierarchic levels of Bariven and PDVSA’s
different businesses to ensure the delivery of materials and equipment in order to
safeguard the operational continuity of the Industry,” then set forth the debt and
proposed payments to selected vendors. The payment proposals were the subject
of extensive communications among the Defendants and their co-conspirators,
including discussions about how much would be allocated to and among Rincon’s
and Shiera’s companies and discussions about the bribe payments due to the
Defendants as a function of how much Rincon’s and Shiera’s companies were
receiving from PDVSA. CESAR RINCON and ISTURIZ had responsibility for
developing and approving the payment proposals, which were ultimately
authorized by Official A.
Account Set-Up

55. In order to facilitate the bribe payments and conceal their nature and
ownership, DE LEON and VILLALOBOS and their co-conspirators engaged
Swiss Company A to set up Swiss bank accounts into which bribe payments could
be received and to assist in providing justifications for the payments.

56. Ultimately, a number of accounts, in Switzerland and elsewhere, were

used in connection with the scheme. These accounts were used to funnel the bribes

16
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 17 of 57

from, to, and through multiple destinations before reaching their ultimate recipient.

57. “Swiss Account 1,” whose identity is known to the Grand Jury, was a
Swiss bank account for which DE LEON was a beneficial owner and
VILLALOBOS and DE LEON were authorized signers. Swiss Account 1 was
used in connection with the scheme.

58. “Swiss Account 2,” whose identity is known to the Grand Jury, was a
Swiss bank account. Swiss Account 2 was used in connection with the scheme.

59. “Swiss Account 3,” whose identity is known to the Grand Jury, was a
Swiss bank account. Swiss Account 3 was used in connection with the scheme.

60. “Swiss Account 4,” whose identity is known to the Grand Jury, was a
Swiss bank account. Swiss Account 4 was used in connection with the scheme.

61. “Swiss Account 5,” whose identity is known to the Grand Jury, was a
Swiss bank account owned and controlled by Rincon and Shiera. Swiss Account 5
was used in connection with the scheme.

62. “Swiss Account 6,” whose identity is known to the Grand Jury, was a
Swiss bank account owned and controlled by Shiera. Swiss Account 6 was used in
connection with the scheme.

63. “Swiss Account 7,” whose identity is known to the Grand Jury, was a

Swiss bank account owned and controlled by ISTURIZ. Swiss Account 7 was

17
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 18 of 57

used in connection with the scheme.

64. “Swiss Account 8,” whose identity is known to the Grand Jury, was a
Swiss bank account owned and controlled by CESAR RINCON. Swiss Account
8 was used in connection with the scheme.

65. “Swiss Account 9,” whose identity is known to the Grand Jury, was a
Swiss bank account. Swiss Account 9 was used in connection with the scheme.

66. “Curacao Account 1,” whose identity is known to the Grand Jury, was
a Curacaoan bank account. Curacao Account | was used in connection with the
scheme.

67. “U.S. Account 1,” whose identity is known to the Grand Jury, was a
U.S. bank account. U.S. Account 1 was used in connection with the scheme.

68. Some of these accounts were not simply used to funnel bribe
payments, but also to provide false justifications for the payments themselves. For
example, on or about September 12, 2011, a letter and services agreement was
submitted through Swiss Company A to a Swiss bank in connection with the
request to open Swiss Account 1. The letter set forth a purported sub-contracting
arrangement between Swiss Account 5 and Swiss Account | in which Swiss
Account | was to assist Swiss Account 5 in providing services to Rincon Company
1. Similarly, on or about April 19, 2012, Swiss Accounts 2, 3, and 4 sent a letter to

Swiss Company A and Swiss Account | stating the general fund distribution from

18
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 19 of 57

Swiss Account | to Swiss Accounts 2, 3, and 4 and setting forth various services
purportedly provided by Swiss Accounts 2, 3, and 4 on behalf of Swiss Account 1
to Swiss Account 5 and Shiera Company 5.

69. The Defendants, Shiera, Rincon, and their co-conspirators
communicated, including via e-mail, phone, and various messaging applications,
about the account set-up and the need to submit documentation to justify the
payments. For example, on or about September 8, 2011, Shiera sent
VILLALOBOS a message using BlackBerry Messenger (“BBM”’) stating, as
translated into English, “The institution has not accepted the stick. They are asking
me for invoices and purchase orders. I already submitted them. I hope it is
resolved tomorrow.” The conspirators frequently used the word “stick” (as
translated into English) to refer to money.

70. The Defendants ultimately established a complex web of bank
accounts through which to conduct the financial transactions in connection with the
scheme and conceal the nature and ownership of the proceeds. On or about
September 16, 2011, Swiss Banker 1 wrote to Shiera, VILLALOBOS, and DE
LEON to report that Swiss Company A had set up four bank accounts — Swiss
Account 1, which Swiss Banker | referred to as the “main account,” Swiss
Account 2, which Swiss Banker 1 identified as being for VILLALOBOS, Swiss

Account 3, which Swiss Banker 1 identified as being for DE LEON, and Swiss

19
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 20 of 57

Account 4, which Swiss Banker 1 identified as being for Official A. Swiss Banker
1 concluded the e-mail by stating, “We will email you next week the new
account numbers and the wiring instructions to begin transfer of funds into the
main a/c ([Swiss Account 1]) for distribution into the 3 accounts.”

71. Swiss Company A, facilitated by Rincon and Shiera, also assisted the
Defendants in opening individual accounts in the names of various entities rather
than in the Defendants’ own names. For example, on or about February 1, 2013,
CESAR RINCON sent Shiera an e-mail attaching his passport and utility bill.
Shiera then forwarded this information to Swiss Banker 1, who requested in
addition a copy of CESAR RINCON’s curriculum vitae. Swiss Banker | asked
Shiera, “Shall I go ahead and order a new Nevis company for Cesar?” Shiera
replied to the e-mail, noting his agreement.

72. Onor about February 6, 2013, Swiss Banker 1 sent Shiera an e-mail
stating, “A new Nevis company called [Swiss Account 8] will be formed with
Cesar as the Director/BO/Shareholder.”

Payments to the Management Team and
Official Assistance to Rincon and Shiera

73. Rincon and Shiera made payments for the benefit of DE LEON,
VILLALOBOS, CESAR RINCON, ISTURIZ, and REITER using a variety of
bank accounts in the United States (including in the Southern District of Texas),

Switzerland, and Panama, to a variety of bank accounts, including, but not limited

20
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 21 of 57

to, the accounts referenced in Paragraphs 57 to 67 above.

74. For example, in total, accounts controlled by Rincon and Shiera
transferred over $27 million to Swiss Account 1, which transferred over $10
million to Swiss Account 2, over $16 million to Swiss Account 3, and over $1
million to Swiss Account 4, in connection with the scheme.

75. In exchange for these bribe and kickback payments, DE LEON,
VILLALOBOS, CESAR RINCON, ISTURIZ, and REITER provided
assistance to Rincon and Shiera in getting paid on outstanding PDVSA invoices
and obtaining new PDVSA contracts.

76. For example, on or about October 10, 2011, ISTURIZ sent Shiera a
BBM message stating, as translated into English, “I got for you and Pelon [Rincon]
[Rincon Company 4] 1.3mm [Rincon Company 2] 1.2mm and [Shiera Company 2]
6.9.” Shiera replied, as translated into English, “That [Shiera Company 2] is his. I
need in [Shiera Company 1] and [Shiera Company 3]. Check it please.”

ISTURIZ later responded, as translated into English, “Shit, bro, I had sent it
already! Let me see what I can do!”, to which Shiera replied, “Change it please.”
ISTURIZ responded, as translated into English, “Pumita! [Shiera] Relax, let Piojo

[ISTURIZ] pamper you!”, to which Shiera replied, as translated into English, “I’m

21
Case 4:17-cr-00514 Documenti1 Filed on 08/23/17 in TXSD Page 22 of 57

in need of love $$$$$$ hahahaha.”

77. Consistent with ISTURIZ’s BBM message, on or about October 17,
2011, PDVSA sent $6,980,000 to Shiera Company 2.

78. After several inter-company transfers, the funds referenced in
Paragraph 77 above were ultimately transferred to Rincon Company 2. On or
about October 26, 2011, Rincon Company 2 transferred $515,513.20 to Swiss
Account 1. Shortly thereafter, on or about November 2, 2011, Shiera Company 5
transferred $179,552.52 to Swiss Account 1. Then, on or about November 16,
2011, Swiss Account | transferred $100,000 to Swiss Account 2, $330,000 to
Swiss Account 3, and $215,000 to Swiss Account 4.

79. The Defendants frequently checked with Shiera and Rincon on the
status of the bribe payments. For example, on or about December 20, 2011,
VILLALOBOS sent Shiera a BBM message stating, as translated into English,
“don’t forget to talk with your administrator, it Is vital the flow comes in
December,” which the conspirators understood to refer to bribe payments. Shiera
responded, as translated into English, “He just confirmed you’ll have it before this
Friday.”

80. Onor about December 22, 2011, Shiera Company 5 made two

transfers to Swiss Account 1, one in the amount of $299,901.85 and another in the

22
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 23 of 57

amount of $362,485.68.

81. Rincon and Shiera frequently used DE LEON and VILLALOBOS as
intermediaries for communications with or about the PDVSA officials. For
example, on or about November 24, 2011, Shiera sent VILLALOBOS a BBM
message stating, as translated into English, “Brother, Piojo [ISTURIZ] never fails.
He put mine at like $3.5M on the proposal and 5 for the ones from Pelon [Rincon]
according to what we talked about at dinner. Give him support.” VILLALOBOS
responded, as translated into English, “That guy is good.”

82. In addition to help getting paid on outstanding invoices, Rincon and
Shiera also asked the Defendants for their assistance in winning PDVSA contracts.
For example, on or about January 4, 2012, Shiera sent VILLALOBOS a BBM
message requesting VILLALOBOS’s assistance in securing a contract over a
competitor to supply equipment in relation to a PDVSA project.

83. On or about February 8, 2012, Shiera sent ISTURIZ a BBM message
asking, as translated into English, “What’s happened with the Motorgenerators?”
to which ISTURIZ replied, as translated into English, “Cesar must sign it! [ll tell
him.”

84. The Defendants corresponded with Rincon and Shiera about PDVSA

bidding panels as well as the official actions the Defendants would take on behalf

of Rincon and Shiera. For example, on or about February 24, 2012, Shiera sent

23
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 24 of 57

ISTURIZ a BBM message with a proposed panel of bidders for an electric
equipment panel. ISTURIZ responded, as translated into English, “Good! Give
me the panels for the others!! Get people moving on that! Look, I have all the
purchasers from my office beating them hard,” to which Shiera replied, as
translated into English, “That is my Piojo.”

85. In addition to allowing Rincon and Shiera to have input on PDVSA
bidding panels, as discussed in Paragraph 84 above, the Defendants gave Rincon
and Shiera inside information on upcoming PDVSA projects so that they could
choose the projects that their companies bid on. For example, on or about
February 28, 2012, ISTURIZ e-mailed Rincon and Shiera, stating, as translated
into English, “I’m sending you a list of the process that we need to start tomorrow.
They’re processes for the E&P [exploration and production] and Gas moments. I
started with e&p, because that’s where the strength lies! I need to know before 10
am in which processes you want to get involved in and the panel.”

86. Onor about March 1, 2012, Rincon responded to the email from
ISTURIZ referenced in Paragraph 85 above, copying Shiera, stating, as translated
into English, “Attached you will find what we are going to work on highlighted in
YELLOW. These are drilling parts and equipment. There is one from Abraham.”

Attached was a highlighted list of equipment PDVSA sought to purchase with the

24
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 25 of 57

corresponding internal budgets.

87. The Defendants frequently sent Rincon and Shiera updates of the
money they expected to receive in bribes in exchange for the payments Rincon and
Shiera were receiving on outstanding PDVSA invoices as a result of the bribery
scheme. The Defendants occasionally sent Rincon and Shiera the payment
proposals themselves, either in draft form for input or in final form so Rincon and
Shiera could see how much money their companies were expected to receive (and,
in turn, how much they would need to pay in bribes). For example, on or about
January 5, 2012, ISTURIZ sent Rincon an e-mail stating, as translated into
English, “I need you to check these numbers. They are the payments for payment
proposal. The date that is on each payment corresponds to the Monday of the
week of the proposal. The date will not coincide with the one on which you
received the money, don’t focus on that, just the amounts.” Attached was a
PDVSA payment proposal document setting forth vendors to be paid, (including a
number of Rincon’s companies) and the dates and amounts of the payments.

88. In addition, on or about May 17, 2013, CESAR RINCON sent
himself a PDVSA payment proposal from his PDVSA e-mail account to a personal
e-mail account. He forwarded it to VILLALOBOS, Shiera, and Rincon with the
message, as translated into English, “I’ve attached the proposal reviewed and

approved by [Official A].” The attached payment proposal included payments to a

25
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 26 of 57

number of Shiera’s and Rincon’s companies, including Shiera Company 1, Shiera
Company 2, Shiera Company 3, Rincon Company 2, Rincon Company 5, and
Rincon Company 7.

89. The Defendants also frequently reminded Rincon and Shiera of how
much they owed in bribe payments, using coded or vague language to conceal
what they were talking about. For example, on or about March 15, 2012, DE
LEON sent Shiera a BBM message stating, as translated into English, “Were you
able to able to buy the things? Debt from the friends as of today $1,093,232,”
which the conspirators understood to be a reference to outstanding bribe payments.

90. Within a week of DE LEON’s message, accounts controlled by
Shiera and Rincon then made a series of transfers to Swiss Account 1, totaling just
over $1 million. On or about March 19, 2012, Swiss Account 5 transferred
$536,005.42 to Swiss Account 1. The next day, March 20, 2012, Shiera Company
5 transferred $281,781.34 to Swiss Account |. Finally, on or about March 22,
2012, Shiera Company 5 transferred $193,021.47 to Swiss Account 1.

91. In order to conceal the nature and ownership of the bribe proceeds,
ISTURIZ sent Rincon and Shiera instructions to pay various bank accounts, held
in the names of various companies. ISTURIZ made coded references to paying
bribes in exchange for future PDVSA business. For example, on or about March

22, 2012, ISTURIZ sent Rincon and Shiera an e-mail stating, as translated into

26
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 27 of 57

English, “Hi P and P, I’m sending you the coordinates in order for you to send me
something to buy coal to keep cooking the stew. ... We can use this account
while we’re opening the other one.” ISTURIZ concluded the e-mail with the
account and wire information for Curacao Account 1.

92. Onor about April 2, 2012, Rincon Company 2 transferred $450,000
from its bank account in the Southern District of Texas to Curacao Account 1.
Over the following several weeks, Curacao Account 1 made a series of transfers to
Swiss Account 7.

93. Onor about May 13, 2012, ISTURIZ sent Rincon and Shiera an e-
mail stating, as translated into English, “Dear friends, I’m sending you the
coordinates to move ahead somewhat on the payments while the other account is
being opened. I need to notify the friend at the bank before the money arrives.
Attached is a spreadsheet showing a summary of the payments over the past 3
weeks.” Set forth below was the account and wire information for Swiss Account
7. Attached was a chart setting forth various Rincon and Shiera companies, the
amounts they had been paid by PDVSA for a three-week period and two figures
representing bribe payments due in the amount of 10% and 2%.

94. On or about May 16, 2012, Rincon Company 2 transferred

$116,949.72 to Curacao Account |. Subsequently, Curagao Account 1 made two

27
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 28 of 57

transfers to Swiss Account 7.

95. Onor about June 1, 2012, Rincon Company 2 transferred $766,428.39
to Swiss Account 7.

96. Onor about June 18, 2012, ISTURIZ sent Rincon and Shiera an e-
mail stating, as translated into English, “Dear colleagues, I am sending you the
Excel file with the summary of the payments and the great debt you have with
Paulo!”

97. Onor about June 19, 2012, Rincon responded to ISTURIZ, stating, as
translated into English, “To date we have transferred the following amounts:
450,000 [Curacao Account 1], 116,949.72 [Curacao Account 1], 766,428.39
[Swiss Account 7], 367,069.19 [Swiss Account 7]. THE TOTAL IS...USD
1,700,447.30. Paulo, the problem is that sometimes we take the amount
considering the entire payment and sometimes we need to subtract 5% for our
allies’... Forgive the trouble but it is being deposited today and this way we have a
difference of USD 0000000000000000000000000000.00.”

98. On or about June 19, 2012, Rincon Company 2 transferred
$367,069.19 to Swiss Account 7.

99. Onor about June 21, 2012, Rincon Company 6 transferred $69,427.81
to Swiss Account 7.

100. Rincon frequently sent confirmations of bribe payments he had made

28
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 29 of 57

to the defendants. For example, on or about May 15, 2012, Rincon Company 2
transferred $200,000 to Swiss Account 9. The following day, Rincon sent the wire
confirmation to CESAR RINCON.

101. Similarly, on or about June 19, 2012, Rincon Company 2 transferred
$115,000 to Swiss Account 9. On or about June 21, 2012, Rincon forwarded the
wire confirmation to CESAR RINCON, who replied, as translated into English,
“All good, Thanks.”

102. On several occasions, ISTURIZ referenced the fact that the financial
transactions through which he sought to receive bribe payments were designed to
conceal the nature and ownership of the proceeds. On or about July 12, 2012,
ISTURIZ forwarded account and wire information for U.S. Account 1 from
ISTURIZ Associate 1 to Rincon and Shiera, copying ISTURIZ Associate 1.
ISTURIZ stated, as translated into English, “I am sending the instructions in order
to start using this route. Copy to the person who is responsible for setting
everything up so that it is all really well shielded.”

103. On or about July 24, 2012, Shiera Company 6 transferred $323,045.27
to U.S. Account 1.

104. On or about July 31, 2012, Rincon Company 2 transferred $450,000
from its account in the Southern District of Texas to U.S. Account 1.

105. On or about August 1, 2012, Rincon Company 2 transferred

29
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 30 of 57

$533,729.77 from its account in the Southern District of Texas to U.S. Account 1.

106. On or about August 10, 2012, U.S. Account 1 transferred $445,785 to
Swiss Account 7.

107. On or about August 13, 2012, U.S. Account 1 transferred $625,056 to
Swiss Account 7.

108. On or about August 29, 2012, ISTURIZ sent Rincon and Shiera an e-
mail stating, as translated into English, “I am sending you the list up to this week’s
proposal, which I am putting together. The numbers are going to stay like this!
Merry Christmas even though it isn’t.” Attached were four charts — the first two
set forth various Rincon companies and various Shiera companies, along with the
amounts that each had been paid by PDVSA over the course of several weeks. The
second two, entitled “RR” and “AS,” respectively, set forth various payment
amounts and payment destinations for bribe payments to ISTURIZ.

109. On or about November 30, 2012, Shiera sent DE LEON a BBM
message stating, as translated into English, “I have $20MM approved to collect for
this week. I’d appreciate your help with at least one invoice for 15MM. Let me
know.” On the same day, DE LEON replied, “I'll help you with the payment.”

110. On or about February 19, 2013, Rincon Company 2 transferred

$200,000 to an account in the name of REITER Relative 1. Rincon sent the

30
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 31 of 57

payment confirmation to REITER by e-mail.

111. On or about February 21, 2013, Rincon Company 2 transferred
$250,000 to an account in the name of REITER Relative 1. Rincon sent the
payment confirmation to REITER by e-mail.

112. DE LEON and VILLALOBOS continued to act as intermediaries
between Rincon and Shiera and PDVSA officials. For example, on or about March
11, 2013, VILLALOBOS sent Shiera a BBM message stating, as translated into
English, “Did you get the second one for Nadal [REITER]? The one for 130?”
Shiera sent VILLALOBOS a BBM message stating, as translated into English,
“The $130k transfer was returned to me, they say that the iban is wrong. Can you
ask for it again? This is Nadal’s [REITER’s].”, VILLALOBOS responded, as
translated into English, “Yes that is it, I’m going to ask for it.”

113. For example, in or about March 13, 2013, VILLALOBOS sent Shiera
a BBM message stating, as translated into English, “Brother, I met with Primo
[CESAR RINCON], I asked him to adjust the proposal with around 75 percent of
your invoice to convince [Official A] to sign it... .”

114. In addition, on or about May 3, 2013, VILLALOBOS sent Shiera a
BBM message stating, as translated into English, “[Official A] wrote to me, he said
he got a good ration this week.”

115. In order to disguise the nature and ownership of the bribe proceeds,

31
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 32 of 57

instead of having money sent directly to an account he controlled, REITER
frequently directed bribe money to third parties for his benefit. For example,
REITER directed that some of the money he was owed in connection with the
scheme be used to purchase a condominium in the name of a company controlled
by REITER Relative 1. On or about August 16, 2012, a representative of Law
Firm 1 sent Rincon Associate | the closing documents for a condominium at the
Four Seasons in Miami and requested that Rincon Associate | direct REITER
Relative 1 to execute the documents. The documents reflected that the buyer of the
condominium was a Florida corporation of which REITER Relative 1 was the
president.

116. On or about August 17, 2012, Rincon sent REITER an e-mail,
attaching the closing documentation referenced in Paragraph 115 above, stating, as
translated into English, “I need this signed by [REITER Relative 1] and returned to
me.” On or about August 21, 2012, REITER returned the documents referenced
in Paragraph 115 to Rincon by e-mail, executed by REITER Relative 1.

117. On or about August 23, 2012, Rincon Company 5 transferred
$867,619.62 to Law Firm 1’s attorney trust account, in connection with the
purchase of the condominium for REITER referenced in Paragraph 115 above.

118. REITER also directed Rincon to invest in a film on his behalf. After

REITER forwarded Rincon an investment agreement from Production Company

32
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 33 of 57

A to invest in a film, on or about May 21, 2013, at the direction of Rincon
Associate 1, Rincon Company 7 transferred $1.5 million to Production Company
A. Rincon sent the confirmation of the transfer to REITER by e-mail.

119. On or about September 14, 2013, Rincon, copying CESAR
RINCON, directed a relative by e-mail to send $200,000 to Swiss Account 8.
CESAR RINCON replied, as translated into English, “Thanks Cousin!”

120. On or about September 16, 2013, Rincon Company 2 transferred

$200,000 to Swiss Account 8.

Gifts and Other Things of Value

121. In addition to monetary bribes, Rincon and Shiera provided the
Defendants with gifts, recreational travel, and other things of value in exchange for
their assistance in connection with Rincon’s and Shiera’s business with PDVSA.

122. For example, on or about November 30, 2011, Shiera received a
reservation confirmation by e-mail for a beach house in Parrot Cay in the Bahamas
made in the name of ISTURIZ, which Shiera then forwarded on to ISTURIZ
noting, as translated into English, “Done, Piojo.”

123. Similarly, on or about June 6, 2013, a luxury hotel in Aruba sent
Shiera confirmations for a number of hotel rooms, including one for CESAR

RINCON and REITER. A note next to both CESAR RINCON’s and

33
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 34 of 57

REITER’s room confirmations stated, “This room will be paid by Mr. Shiera.”

124. In addition, on or about January 15, 2013, Rincon Company 2
purchased a $107,500 armored car from a company in Texas for the benefit of
REITER. On or about March 18, 2013, Rincon Company 2 purchased a second
$107,500 armored car from a company in Texas for the benefit of REITER.

125. On or about August 1, 2013, Rincon purchased a $10,300 handbag for
REITER Relative | at a store in the Southern District of Texas.

126. On or about June 26, 2014, REITER forwarded Rincon invoices for
English classes for two of Official B’s children, one in the amount of $16,672 and
the other in the amount of $8,755.

127. On or about July 4, 2014, Rincon Company 2 made two transfers, one
in the amount of $16,672 and the other in the amount of $8,755, to a bank account

in the name of the school where Official B’s children were taking English classes.

All in violation of Title 18, United States Code, Section 1956(h).

34
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 35 of 57

COUNT TWO
(Conspiracy — 18 U.S.C. § 371)

(Defendants DE LEON and VILLALOBOS)

128. Paragraphs 1 through 38 and 41 through 127 are realleged and
incorporated by reference as though fully set forth herein.
129. Beginning in at least 2011 and continuing through at least 2013, in the

Southern District of Texas, and elsewhere, the defendants,

LUIS CARLOS DE LEON PEREZ
and
NERVIS GERARDO VILLALOBOS CARDENAS
did willfully and knowingly conspire, confederate, and agree with each other and

others known and unknown to the Grand Jury to commit offenses against the

United States, that is:

to willfully make use of the mails and means and instrumentalities of
interstate commerce corruptly in furtherance of an offer, payment, promise to pay,
and authorization of the payment of any money, offer, gift, promise to give, and
authorization of the giving of anything of value to a foreign official and to a
person, while knowing that all and a portion of such money and thing of value
would be and had been offered, given, and promised to a foreign official, for
purposes of: (1) influencing acts and decisions of such foreign official in his

official capacity; (11) inducing such foreign official to do and omit to do acts in

35
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 36 of 57

violation of the lawful duty of such official; (iii) securing any improper advantage;
and (iv) inducing such foreign official to use his influence with a foreign
government and agencies and instrumentalities thereof to affect and influence acts
and decisions of such government and agencies and instrumentalities, in order to
assist Rincon, Shiera, and their U.S. companies in obtaining and retaining business
for and with, and directing business to, Rincon, Shiera, their companies, and
others, in violation of the Foreign Corrupt Practices Act, Title 15, United States
Code, Section 78dd-2(a).
Purpose of the Conspiracy

130. The purpose of the conspiracy was for DE LEON, VILLALOBOS,
and their co-conspirators, to enrich themselves and others by directing bribes to
PDVSA officials to assist Rincon, Shiera, and others in obtaining and retaining
lucrative energy contracts with PDVSA through corrupt and fraudulent means,
including by paying bribes to PDVSA officials, and by keeping a portion of those
bribes.

Manner and Means of the Conspiracy

131. The manner and means by which DE LEON and VILLALOBOS and
their co-conspirators sought to accomplish the purpose of the conspiracy included,
among other things, the following, while in the Southern District of Texas and

elsewhere:

36
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 37 of 57

132. DE LEON and VILLALOBOS offered Rincon and Shiera, as well as
others, the opportunity to receive payment priority over other PDVSA vendors on
outstanding PDVSA invoices and to receive assistance in winning future PDVSA
contracts, in exchange for bribes paid to members of the “management team,”
including CESAR RINCON, ISTURIZ, REITER, Official A, and Official B, of
which DE LEON and VILLALOBOS would receive a portion.

133. At the direction of DE LEON and VILLALOBOS, Rincon and
Shiera, together with others, paid bribes to the management team through the use
of interstate and foreign wires in order to secure any improper business advantage,
influence acts and decisions of the PDVSA officials, including CESAR RINCON,
ISTURIZ, and REITER in their official capacities, and to induce the PDVSA
officials to do and omit to do certain acts, including, but not limited to:

a. including Rincon’s and Shiera’s companies on payment proposals and
approving those payment proposals so that Rincon’s and Shiera’s companies could

receive payments on outstanding PDVSA invoices;

b. assisting Rincon’s and Shiera’s companies in winning PDVSA
contracts;

C. providing Rincon and Shiera with inside information concerning the
PDVSA bidding process;

37
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 38 of 57

d. placing one or more of Rincon’s and Shiera’s companies on certain
bidding panels for PDVSA projects;

e. ensuring that Rincon and Shiera were not subject to any internal
investigations at PDVSA.

134. At the direction of DE LEON and VILLALOBOS, Rincon and
Shiera, together with others, caused bribe payments to be wired from the bank
accounts of Rincon’s companies and Shiera’s companies to bank accounts
controlled by DE LEON and VILLALOBOS with the understanding that the
funds would be split among DE LEON, VILLALOBOS, CESAR RINCON,
ISTURIZ, REITER, Official A, and Official B.

135. In addition to monetary bribes, Rincon and Shiera, together with
others, provided other things of value to the management team, including DE
LEON, VILLALOBOS, CESAR RINCON, ISTURIZ, and REITER, including
recreational travel, vehicles, gifts (including watches and wine), meals, and
entertainment, in order to receive payment priority on outstanding PDVSA
invoices and to obtain and retain business with PDVSA.

Overt Acts
136. In furtherance of the conspiracy and to achieve the objects thereof, at

least one of the co-conspirators committed or caused to be committed, in the

38
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 39 of 57

Southern District of Texas and elsewhere, at least one of the following overt acts,
among others:

137. On or about September 16, 2011, Swiss Banker 1 e-mailed Shiera,
VILLALOBOS, and DE LEON, stating that Swiss Company A had set up four
bank accounts — Swiss Account 1, which Swiss Banker | referred to as the “main
account,” Swiss Account 2, which Swiss Banker | identified as being for
VILLALOBOS, Swiss Account 3, which Swiss Banker 1 identified as being for
DE LEON, and Swiss Account 4, which Swiss Banker | identified as being for
Official A. Swiss Banker 1 concluded the e-mail by stating, “We will email you
next week the new account numbers and the wiring instructions to begin
transfer of funds into the main a/c ([Swiss Account 1]) for distribution into the 3
accounts.”

138. On or about December 7, 2011, Swiss Account 5 transferred
$602,790.96 to Swiss Account 1.

139. On or about December 16, 2011, Shiera Company 5 transferred
$47,212.14 to Swiss Account 1.

140. On or about December 20, 2011, VILLALOBOS sent Shiera a BBM
message stating, as translated into English, “don’t forget to talk with your
administrator, It Is vital the flow comes in December,” which the conspirators

understood to refer to bribe payments.” Shiera responded, as translated into

39
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 40 of 57

English, “He just confirmed you'll have it before this Friday.”

141. Onor about December 21, 2011, Swiss Account 1 made two transfers
to Swiss Account 3, one in the amount of $587,269.20 and another in the amount
of $1,370,294.80.

142. On or about December 22, 2011, Shiera Company 5 made two
transfers to Swiss Account 1, one in the amount of $299,901.85 and another in the
amount of $362,485.68.

143. On or about December 23, 2011, VILLALOBOS sent Shiera a BBM
message stating, as translated into English, “Do you know if that invoice of mine
was paid?” Shiera replied, as translated into English, “Brother, the 1000 will be
deposited on Monday.”

144. On or about December 27, 2011, VILLALOBOS sent Shiera a BBM
message stating, as translated into English, “The deposit for the little stick has not
arrived, sorry to bother you, but it is vital for this week.”

145. On or about January 4, 2012, Shiera Company 5 transferred
$60,658.26 to Swiss Account 1.

146. On or about February 10, 2012, Swiss Account 5 transferred
$1,373,227.89 to Swiss Account 1.

147. On or about February 13, 2012, Shiera Company 5 transferred

40
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 41 of 57

$121,300.70 to Swiss Account 1.

148. On or about February 15, 2012, Shiera sent DE LEON a BBM
message Stating, as translated into English, “Last week the payment for $322,021
was completed in two parts, one is for $121,400 and the other is $200,621. On the
other hand, this week we are paying $1,785,223 corresponding to $1,000,000 for
the plane and $788,255 from the last collection received.”

149. On or about February 15, 2012, Swiss Account 5 transferred
$611,211.52 to Swiss Account 1.

150. On or about February 16, 2012, Shiera Company 5 transferred
$200,522.43 to Swiss Account 1.

151. On or about February 17, 2012, Rincon Company 3 transferred
$257,436 to Swiss Account 1.

152. On or about February 21, 2012, Swiss Account | transferred
$4,000,000 to Swiss Account 3 and $1,400,000 to Swiss Account 4.

153. On or about March 15, 2012, DE LEON sent Shiera a BBM message
stating, as translated into English, “Were you able to able to buy the things? Debt
from the friends as of today $1,093,232,” which the conspirators understood to be
a reference to outstanding bribe payments.

154. On or about March 19, 2012, Swiss Account 5 transferred

4]
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 42 of 57

$536,005.42 to Swiss Account 1.

155. On or about March 20, 2012, Shiera Company 5 transferred
$281,781.34 to Swiss Account 1.

156. On or about March 22, 2012, Shiera Company 5 transferred
$193,021.47 to Swiss Account 1.

157. On or about November 30, 2012, Shiera sent DE LEON a BBM
message stating, as translated into English, “I have $20MM approved to collect for
this week. I’d appreciate your help with at least one invoice for $15MM. Let me
know.” On the same day, DE LEON replied, “I?ll help you with the payment.”

158. On or about January 21, 2013, DE LEON sent Shiera a BBM
message stating, “Enano [VILLALOBOS] told me to transfer you what’s pending
up to mid Dec. It’s about 1.5 M.”

159. On or about March 13, 2013, VILLALOBOS sent Shiera a BBM
message stating, as translated into English, “Brother, I met with Primo [CESAR
RINCON], I asked him to adjust the proposal with around 75 percent of your
invoice to convince [Official A] to sign it...”

All in violation of Title 18, United States Code, Section 371.

42
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 43 of 57

COUNT THREE
(Conspiracy to Commit Money Laundering — 18 U.S.C. § 1956(h))

(Defendant CESAR RINCON)

160. Paragraphs | through 38 and 41 through 127 are realleged and
incorporated by reference as though fully set forth herein.
161. From in or around 2011 and continuing until at least 2014, in the

Southern District of Texas and elsewhere, the defendant,
CESAR DAVID RINCON GORDOY

did knowingly conspire, confederate, and agree with others known and unknown to
the Grand Jury to commit offenses under Title 18, United States Code, Section
1956, namely:

knowing that the property involved in a financial transaction represented the
proceeds of some form of unlawful activity, to conduct or attempt to conduct such
a financial transaction which in fact represented the proceeds of specified unlawful
activity, knowing that the transaction is designed in whole and in part to conceal
and disguise the nature, the location, the source, the ownership, and the control of
the proceeds of specified unlawful activity, namely, bribery of a foreign official, a
felony violation of the FCPA, Title 15, United States Code, Sections 78dd-2, in

violation of Title 18, United States Code, Section 1956(a)(1)(B).

43
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 44 of 57

Manner and Means of the Conspiracy

162. The manner and means by which CESAR RINCON and his co-
conspirators sought to accomplish the purpose of the conspiracy included, among
other things, the following, while in the Southern District of Texas and elsewhere:

163. CESAR RINCON promised Businessman 3 assistance with getting
paid on outstanding invoices on PDVSA contracts, as well as assistance with
winning new PDVSA contracts, in exchange for bribe payments.

164. CESAR RINCON directed bribe payments to be sent to various
recipients other than himself, including companies, intermediaries, relatives,
friends, and close personal associates, including payments through or to bank
accounts in the Southern District of Texas, for the purpose of concealing and
disguising the nature, source, and ownership of the bribe payments.

165. CESAR RINCON, together with others, created false justifications
for certain of the bribes, including invoices for services that were never performed,
for the purpose of concealing and disguising the nature, source, and ownership of
those bribe payments.

Acts In Furtherance of the Conspiracy

166. On or about February 29, 2012, CESAR RINCON sent Businessman
3 an e-mail, stating, as translated into English, “They are asking me over there if
you sent the candy to [CESAR RINCON Relative 1],” which the conspirators

44
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 45 of 57

understood to refer to bribe payments. Businessman 3 replied, as translated into
English, “That candy will be sent to [CESAR RINCON Relative 1]’s house today.”
Later that day, Businessman 3 wrote to CESAR RINCON again, stating, as
translated into English, “I have a little problem with sending all of the candy today.
I need to get it out of the main store to send it to the branch and you know that we
have to be careful with that here but I can send a good load today.”

167. Also on or about February 29, 2012, a company controlled by
Businessman 3 transferred $150,710 to an account in the name of CESAR
RINCON Relative 1. Businessman 3 forwarded the wire confirmation to CESAR
RINCON, stating, as translated into English, “Sir, It was sent. Thank you for
everything... .”

168. On or about November 16, 2012, CESAR RINCON sent
Businessman 3 an e-mail stating, as translated into English, “I am attaching the
invoices for [CESAR RINCON Relative 1]’s transfers.” Attached was an invoice
in the amount of $110,000 from a company controlled by CESAR RINCON
Relative 1 and another relative to a company controlled by Businessman 3
purportedly for “Technical assistance” on a maintenance project.

169. On or about February 14, 2013, Businessman 3 signed a $110,000
check from a company he controlled to a company controlled by CESAR RINCON

Relative 1 and another relative. The memo line of the check referenced an invoice

45
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 46 of 57

number that matched the number on the invoice CESAR RINCON sent to
Businessman 3 on November 16, 2012 referenced in Paragraph 168 above.

170. On or about February 15, 2013, the check referenced in Paragraph 169
above was presented for payment.

All in violation of Title 18, United States Code, Section 1956(h).

46
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 47 of 57

COUNT FOUR
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)(i); 18 U.S.C. § 2)

(Defendants DE LEON and VILLALOBOS)
171. Paragraphs | through 38, 41 through 127, and 131 through 159 are

realleged and incorporated by reference as though fully set forth herein.
172. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendants,

LUIS CARLOS DE LEON PEREZ
and
NERVIS GERARDO VILLALOBOS CARDENAS,

did knowingly conduct, and aid, abet, and cause others to conduct, and attempt to
conduct, the following financial transactions affecting interstate and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, and that the financial transactions
were designed, in whole and in part, to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of said
specified unlawful activity, that is, a felony violation of the FCPA, Title 15, United

States Code, Sections 78dd-2, as follows:

A $515,513.20 wire from Rincon Company 2 to Swiss Account | on or

about October 26, 2011.

47
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 48 of 57

All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i)

and 2.

48
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 49 of 57

COUNTS FIVE-SEVEN
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)(@); 18 U.S.C. § 2)

(Defendant DE LEON)
173. Paragraphs | through 38, 41 through 127, and 131 through 159 are
realleged and incorporated by reference as though fully set forth herein.
174. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendant,

LUIS CARLOS DE LEON PEREZ,

did knowingly conduct, and aid, abet, and cause others to conduct, and attempt to
conduct, the following financial transactions affecting interstate and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, and that the financial transactions
were designed, in whole and in part, to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of said
specified unlawful activity, that is, a felony violation of the FCPA, Title 15, United

States Code, Sections 78dd-2, as follows:

49
 

Case 4:17-cr-00514 Document 1

Filed on 08/23/17 in TXSD_ Page 50 of 57

 

 

 

 

COUNT DATE MONETARY TRANSACTION
Five March 19, 2012 $536,005.42 transfer from Swiss Account 5
to Swiss Account 1
Six March 20, 2012 $281,781 .34 transfer from Shiera Company
5 to Swiss Account 1
Seven March 22, 2012 $193,021.47 transfer from Shiera Company

 

 

5 to Swiss Account |

 

All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i)

and 2.

50

 
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 51 of 57

COUNTS EIGHT-ELEVEN
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)(i); 18 U.S.C. § 2)

(Defendant CESAR RINCON)

175. Paragraphs 1 through 38, 41 through 127, 131 through 159, and 162
through 170 are realleged and incorporated by reference as though fully set forth
herein.

176. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendant,

CESAR DAVID RINCON GODOY,

did knowingly conduct, and aid, abet, and cause others to conduct, and atternpt to
conduct, the following financial transactions affecting interstate and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, and that the financial transactions
were designed, in whole and in part, to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of said
specified unlawful activity, that is, a felony violation of the FCPA, Title 15, United

States Code, Sections 78dd-2, as follows:

 

 

 

 

 

 

COUNT DATE MONETARY TRANSACTION
. $150,710 wire transfer from a company
Eight February 29, 2012 controlled by Businessman 3 to a bank

 

51
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 52 of 57

 

COUNT

DATE

MONETARY TRANSACTION

 

account in the name of CESAR RINCON
Relative 1

 

Nine

May 15, 2012

$200,000 wire transfer from Rincon
Company 2 to Swiss Account 9

 

Ten

June 19, 2012

$115,000 wire transfer from Rincon
Company 2 to Swiss Account 9

 

Eleven

 

 

February 15, 2013

 

$110,000 check from a company controlled
by Businessman 3 to a company controlled

by CESAR RINCON Relative 1 and
another relative

 

All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)()

and 2.

52

 
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 53 of 57

COUNTS TWELVE-SIXTEEN
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)(i); 18 U.S.C. § 2)

(Defendant ISTURIZ)
177. Paragraphs 1 through 38, 41 through 127, and 131 through 159 are
realleged and incorporated by reference as though fully set forth herein.
178. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendant,

ALEJANDRO ISTURIZ CHIESA,

did knowingly conduct, and aid, abet, and cause others to conduct, and attempt to
conduct, the following financial transactions affecting interstate and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, and that the financial transactions
were designed, in whole and in part, to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of said
specified unlawful activity, that is, a felony violation of the FCPA, Title 15, United

States Code, Sections 78dd-2, as follows:

 

COUNT DATE MONETARY TRANSACTION
$766,428.39 wire transfer from Rincon
Twelve June I, 2012 Company 2 to Swiss Account 7
$367,069.19 wire transfer from Rincon
Company 2 to Swiss Account 7

 

 

Thirteen June 19, 2012

 

 

 

 

 

53
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD_ Page 54 of 57

 

 

 

 

 

 

 

COUNT DATE MONETARY TRANSACTION
Fourteen June 21, 2012 $69,427.81 transfer from Rincon Company
6 to Swiss Account 7
Fifteen August 10, 2012 $445,785 wire transfer from U.S. Account
1 to Swiss Account 7
Sixteen August 13, 2012 $625,056 wire transfer from U.S. Account

1 to Swiss Account 7

 

All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)()

and 2.

54

 
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 55 of 57

COUNTS SEVENTEEN-TWENTY
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)(i); 18 U.S.C. § 2)

(Defendant REITER)
179. Paragraphs | through 38, 41 through 127, and 131 through 159 are
realleged and incorporated by reference as though fully set forth herein.
180. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendant,

RAFAEL ERNESTO REITER MUNOZ,

did knowingly conduct, and aid, abet, and cause others to conduct, and attempt to
conduct, the following financial transactions affecting interstate and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, and that the financial transactions
were designed, in whole and in part, to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of said
specified unlawful activity, that is, a felony violation of the FCPA, Title 15, United

States Code, Sections 78dd-2, as follows:

 

COUNT DATE MONETARY TRANSACTION
$867,619.62 wire transfer from Rincon
Company 5 to Law Firm 1

$200,000 wire transfer from Rincon
Company 2 to REITER Relative 1

 

Seventeen August 23, 2012

 

Eighteen February 19, 2013

 

 

 

 

 

55
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 56 of 57

 

COUNT DATE MONETARY TRANSACTION
$250,000 wire transfer from Rincon
Nineteen | February 21, 2013 | Company 2 to REITER Relative 1
$1,500,000 wire transfer from Rincon
Company 7 to Production Company A

 

 

Twenty May 21, 2013

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2.

NOTICE OF CRIMINAL FORFEITURE
(28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(C))

181. Pursuant to Title 28, United States Code, Section 2461(c) and Title
18, United States Code, Section 981(a)(1)(C), the United States gives notice to the

defendants,

LUIS CARLOS DE LEON PEREZ
and
NERVIS GERARDO VILLALOBOS CARDENAS,

that in the event of conviction of the offense charged in Count 2 of this Indictment,
the United States intends to seek forfeiture of all property, real or personal, which

constitutes or is derived from proceeds traceable to such offenses.

NOTICE OF FORFEITURE
(18 U.S.C. § 982(a)(1))

182. Pursuant to Title 18, United States Code, Section 982(a)(1), the

United States gives notice to the defendants,

LUIS CARLOS DE LEON PEREZ,
NERVIS GERARDO VILLALOBOS CARDENAS,
CESAR DAVID RINCON GODOY,
ALEJANDRO ISTURIZ CHIESA,
and

56
Case 4:17-cr-00514 Document1 Filed on 08/23/17 in TXSD Page 57 of 57

RAFAEL ERNESTO REITER MUNOZ,

that upon conviction of any of the offenses charged in Count 1 and Counts 3 through

20 of this Indictment, the United States intends to seek forfeiture of all property, real

or personal, involved in money laundering offenses or traceable to such property.

PROPERTY IN SUBSTITUTION

183. Inthe event that a condition listed in Title 21, United States Code,

Section 853(p) exists, the United States may seek to forfeit any other property of

the defendants in substitution up to the total value of the property subject to

forfeiture. The United States may seek the imposition of a money judgment

against each defendant.

BY:

ABE MARTINEZ
ACTING UNITED STATES
ATTORNEY

JOHN P. PEARSON

DEPUTY CHIEF

ROBERT S. JOHNSON
ASSISTANT UNITED STATES
ATTORNEY

57

A TRUE BILL

ORIGINAL SIGNATURE ON FILE

2 Lf i Ff =

FOREPERSON

SANDRA MOSER

ACTING CHIEF, FRAUD
SECTION

CRIMINAL DIVISION
DEPARTMENT OF JUSTICE

On. Ob

AISL O’SHEA
JERE R. SANDERS
TRIAL AXKTORNEYS
